Case 3:07-cv-03114-S|

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`DNDIHOM l.ON W3.l.SAS ON GNV (]Cl 3.I.VAI.IDV O.L DNIAH.L N33H SVH 3H lVH.L S3.LVJ.S 33

33 OJ. 300 SS3Z)1)V}IH NO 33 H3.LS]DHH (INV 65 l € O.l. N.LI.V AW 011
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am m:~oA 01 benz-em

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am Mal/\_ 01 ban-st

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